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 1 STEPHEN M. TILLERY (pro hac vice)
      stillery@koreintillery.com
 2 STEVEN M. BEREZNEY (Bar No. 329923)
      sberezney@koreintillery.com
 3 GARRETT R. BROSHUIS (Bar No. 329924)
      gbroshuis@koreintillery.com
 4 KOREIN TILLERY, LLC
   505 North 7th Street, Suite 3600
 5 St. Louis, MO 63101
   Telephone: (314) 241-4844
 6 Facsimile: (314) 241-3525

 7 Attorneys for Plaintiffs Taylor Smart and
   Michael Hacker, Individually and on Behalf
 8 of All Those Similarly Situated

 9

10                        UNITED STATES DISTRICT COURT
11          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

12 TAYLOR SMART AND MICHAEL HACKER,         CASE NO. 2:22-cv-02125-WBS-CSK
   Individually and on Behalf of
13 All Those Similarly Situated,            CLASS ACTION

14             Plaintiffs,
                                            DECLARATION OF GARRETT R.
         vs.                                BROSHUIS IN SUPPORT OF MOTION
15
                                            FOR PRELIMINARY APPROVAL
16 NATIONAL COLLEGIATE ATHLETIC
   ASSOCIATION, an unincorporated           Date: April 14, 2025
17 association;                             Time: 1:30 p.m.
                                            Courtroom: 5, 14th Floor
18             Defendant.                   Judge: The Honorable William B.
                                            Shubb
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 1       I, Garrett R. Broshuis, hereby declare as follows:

 2       1.    I am one of the attorneys principally responsible for

 3 handling of this matter. I submit this Declaration in support of

 4 Plaintiffs’ Motion for Preliminary Approval of the Settlement.

 5       2.    I am personally familiar with the facts set forth in

 6 this Declaration. If called as a witness, I could and would

 7 competently testify to the matters stated herein.

 8       3.    I am a partner at the law firm of Korein Tillery, LLC

 9 (hereafter “Korein Tillery” or “Plaintiffs’ Counsel”), which

10 specializes in complex litigation, including antitrust

11 litigation. With only a few small exceptions (none applicable

12 here), nearly all of Korein Tillery’s work is done on a

13 contingency fee basis. A true and accurate copy of our firm

14 résumé is attached as Exhibit 1 to this Declaration, which

15 includes biographies for me and the firm’s other attorneys

16 primarily responsible for this case, and includes a summary of

17 the firm’s relevant work.

18       4.    Attached as Exhibit 2 to this Declaration is a true and

19 accurate copy of the Settlement Agreement that all parties

20 recently executed in this case.

21       5.    This case has been pending since November 2022. Korein

22 Tillery has vigorously represented the interests of Division I

23 “volunteer coaches” for baseball since this case’s inception.

24 This case was completely novel in that nobody had ever challenged

25 the volunteer coach bylaw at issue since it was enacted in 1992.

26 Litigation was contentious at every stage. Defendant

27 unsuccessfully attempted to transfer this case from this Court to

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 1 Indianapolis. Defendant then unsuccessfully moved to dismiss the

 2 case. Named Plaintiff Michael Hacker attended the hearing on

 3 Defendants’ motion to dismiss.

 4         6.   Discovery was then extensive. Plaintiffs served and

 5 received responses to interrogatories and request for admissions.

 6 Plaintiffs also responded to Defendant’s three sets of

 7 interrogatories.

 8         7.   Document production and review was robust. Plaintiffs’

 9 Counsel collected both e-mails and text messages from the named

10 Plaintiffs. Taylor Smart produced 752 documents totaling 1,382

11 pages. Mr. Hacker produced 129 documents totaling 351 pages.

12 Plaintiffs’ Counsel reviewed those documents before production

13 for relevance and privilege. The NCAA produced 11,750 documents

14 containing 278,132 pages, which Plaintiffs’ Counsel reviewed.

15         8.   After Magistrate Judge Newman denied Plaintiffs’ motion

16 to compel the NCAA to produce relevant records (ECF No. 55 at

17 11), Plaintiffs issued over 300 subpoenas to member schools for

18 2023-24 information. Plaintiffs so far have received complete

19 responses from over 200 schools, including over 8,000 documents

20 that Plaintiffs also reviewed. Plaintiffs recently issued a

21 similar number of subpoenas for 2024-25 information. Based on

22 this data and other research that Plaintiffs’ Counsel has done,

23 we have identified around 1,000 potential class members at this

24 time.

25         9.   The parties also deposed most of the key fact

26 witnesses. The NCAA deposed both Mr. Smart and Mr. Hacker.

27 Plaintiffs deposed two of the NCAA employees most knowledgeable

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 1 about the volunteer coach rule and the efforts by the NCAA to

 2 repeal it after Plaintiffs filed this lawsuit — Jenn Fraser and

 3 Lynda Tealer. Plaintiffs also deposed Matt Boyer — the SEC

 4 employee most directly responsible for an earlier failed effort

 5 in 2018 to repeal the volunteer coach rule. Plaintiffs then

 6 deposed Jeremiah Carter — a member of the NCAA Modernization of

 7 Rule Subcommittee tasked with recommending the repeal of

 8 unnecessary bylaws, including the volunteer coach rule.

 9 Plaintiffs’ Counsel also attended the six depositions of the

10 named plaintiffs in the related Ray v. NCAA case, No. 1:23-cv-

11 00425 WBS (E.D. Cal.) (hereafter “Ray”) challenging the same

12 volunteer coach rule in sports other than baseball.

13       10.   The parties also deposed the expert witnesses.

14 Plaintiffs submitted an expert declaration from Dr. Daniel

15 Rascher in support of their motion for class certification. NCAA

16 deposed Dr. Rascher and filed a motion to exclude him under

17 Daubert (ECF No. 67), attaching a report from its sole rebuttal

18 expert, Dr. Jee-Yeon Lehmann (ECF No. 67-5). Plaintiffs deposed

19 Dr. Lehmann on January 23, 2025.

20       11.   The parties attempted mediation with a mediator in

21 summer 2024, but were unsuccessful. The parties resumed

22 settlement discussions after engaging in robust discovery and

23 after class certification briefing began. The settlement

24 discussions were hard-fought and always done at arms-length, with

25 both sides zealously representing the interests of their clients.

26 After extensive negotiations, the parties settled this case on

27 January 31, 2025 — the same day that Plaintiffs’ reply brief in

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 1 support of their motion for class certification and their Daubert

 2 opposition brief were due. Mr. Smart and Mr. Hacker were

 3 consulted about the settlement offer that was ultimately

 4 accepted, and both approved.

 5       12.   Both sides had represented their clients for years in

 6 this litigation and were aware of the relative strengths and

 7 weaknesses of the case. The Settlement Agreement is a byproduct

 8 of those strengths and weaknesses.

 9       13.   Plaintiffs’ Counsel worked vigorously to ensure that

10 class members would receive as much compensation as possible,

11 that no claim form would be needed to receive that compensation,

12 and that class members would receive the best practicable notice

13 of the Settlement Agreement.

14       14.   The Settlement Agreement calls for a payment of $49.25

15 million by the NCAA to a common settlement fund. According to Dr.

16 Rascher, this is approximately 99% of the total estimated actual

17 damages for the class. If approved, the settlement will fairly

18 compensate class members when taking into consideration the legal

19 issues in this case and the uncertainties of trial and appeal.

20       15.   None of the common settlement fund will revert to

21 Defendant. If at some point it becomes impracticable to re-

22 distribute unclaimed funds to class members, the residue will go

23 to a related charity — the American Baseball Coaches Association

24 (“ABCA”) — under the doctrine of cy pres. Plaintiffs’ Counsel has

25 no financial or other interests in the charity. According to its

26 website, ABCA has over 15,000 members in all 50 states and 41

27 countries focusing on amateur baseball coaching at the college,

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 1 high school, youth, and travel levels. See

 2 https://www.abca.org/ABCA/ABCA/Who We Are/About the ABCA.aspx?hke

 3 y=88a075b3-7b58-4aea-a74d-cb49678bc58a (last visited Feb. 10,

 4 2025). ABCA’s purposes are, inter alia, “to assist in the

 5 educational development of amateur baseball coaches” and to

 6 “promote excellence in the coaching of baseball.” See

 7 https://www.abca.org/ABCA/ABCA/Who We Are/ABCA Constitution                 Byl

 8 aws.aspx?hkey=d08d48bd-09de-44c1-a239-15cd6f20b245 (last visited

 9 Feb. 10, 2025).

10       16.   To administer the settlement, Plaintiffs’ Counsel

11 engaged in a robust vetting process. Plaintiffs’ Counsel

12 requested bids from three experienced settlement administrators

13 and participated in a conference call with each to address needs,

14 capabilities, and questions. Plaintiffs’ Counsel carefully

15 assessed the bids received from all firms. In deciding which firm

16 to endorse, counsel considered not only each firm’s estimated

17 cost, but also its staffing, years of experience, and expertise

18 in administering class actions of this size and nature.

19 Plaintiffs’ Counsel determined that Kroll Settlement

20 Administration was best-suited. Kroll Settlement Administration

21 has estimated administration costs of $30,150, which in counsel’s

22 experience is reasonable and in line with administration costs in

23 other class actions of this size and nature. Kroll Settlement

24 Administration intends to work with Dr. Daniel Rascher to

25 determine the payment amounts; while Dr. Rascher has completed

26 much of this work, Dr. Rascher estimates that his firm’s ongoing

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 1 costs will amount to around $35,000, which Plaintiffs’ Counsel

 2 believes to be reasonable.

 3       17.   As of March 10, 2025, Plaintiffs’ Counsel has expended

 4 approximately 7,441 hours prosecuting this case, with the bulk of

 5 the legal work performed by myself (over 1,700 hours) and my

 6 partner Steven Berezney (over 1,500 hours).

 7       18.   Considering the length, complexity, and novelty of the

 8 case, that is a very reasonable number of hours in Plaintiffs’

 9 Counsel’s experience. It results in a current lodestar of

10 approximately $5,009,705, a number that will increase as more

11 work is completed. More detailed information regarding the hours

12 worked, hourly rates, and tasks performed will be provided in the

13 formal motion for an award of attorneys’ fees, which will be

14 filed if preliminary approval is granted. In that petition,

15 Plaintiffs intend to request 30% for their attorneys’ fees.

16       19.   More detailed information to support the amount of

17 litigation costs, along with information supporting the petition

18 for incentive awards, will be provided at that time as well. As

19 of now, though, Plaintiffs have expended approximately $1.32

20 million on costs, most of which stems from expert costs.

21 Plaintiffs will petition for reimbursement of their actual costs,

22 and will also petition for incentive payments of $7,500 for each

23 of the two named plaintiffs.

24       20.   Plaintiffs’ Counsel performed all that work on a self-

25 funded, contingency basis, against a well-funded organization

26 represented by a large, prestigious law firm. Plaintiffs’ Counsel

27 took on considerable risk in doing so.

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 1       21.   The class and Plaintiffs’ Counsel faced considerable

 2 risks if this case did not settle when it did. That included

 3 remaining risks at class certification, summary judgment, trial,

 4 and possibly on appeal. A loss at any stage would have left the

 5 class with nothing. While I am confident that Plaintiffs would

 6 have prevailed and strongly believe in the positions asserted,

 7 the NCAA is a well-funded opposing party represented by

 8 experienced counsel, and it had raised several defenses

 9 (including their alleged procompetitive justifications) and had

10 contested class certification.

11       22.   While Plaintiffs’ Counsel remains fully confident in

12 Plaintiffs’ positions, and remained ready and eager to try the

13 case, there was no guarantee of success and certainly no

14 guarantee of (a) class certification, (b) defeating a motion for

15 summary judgment, and (c) obtaining a favorable judgment at trial

16 equaling the benefits provided by the Settlement Agreement. Any

17 win at trial would still have been subject to appeal, which

18 presents another layer of risk and also delay.

19       23.   For these reasons, Plaintiffs’ Counsel has a highly

20 favorable view of the Settlement Agreement and believe it merits

21 the Court’s approval. That opinion is premised on a number of

22 considerations:

23                a. The Settlement Agreement creates a common

24                   settlement fund that is nearly 100% of the class’s

25                   actual damages.

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 1                b. No claim form is needed for class members to

 2                   receive their payments, and no part of the

 3                   settlement fund is reversionary.

 4                c. The settlement avoids the uncertainty of class

 5                   certification, summary judgment, a lengthy trial,

 6                   and a long appeal.

 7                d. Plaintiffs’ Counsel knows very well the strengths

 8                   and weaknesses of Plaintiffs’ claims and

 9                   Defendants’ defenses. Taking those into account,

10                   Plaintiffs’ Counsel — without hesitation —

11                   believes the Settlement Agreement to be fair and

12                   reasonable for all class members.

13       I declare under penalty of perjury under the laws of the

14 United States of America that the foregoing is true and correct.

15

16 Executed on March 24, 2025, in St. Louis, Missouri

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18                                             /s/ Garrett R. Broshuis
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                    EXHIBIT 1
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Korein Tillery—with offices in Chicago, St. Louis, San Diego, and Naples—is one of the
country’s most successful plaintiffs’ complex-litigation firms, representing a broad array of
clients in high-stakes lawsuits and delivering over $18 billion in verdicts and settlements over
the last 14 years. Most of our attorneys have represented both plaintiffs and defendants at
some point in their careers, and, combined, we’ve handled cases covering virtually every
conceivable substantive area of the law. We’ve litigated cases for clients ranging from
individuals and certified classes to governmental entities and billion-dollar, multi-national
corporations. Collectively, we’ve tried hundreds of cases to verdict, with several verdicts
exceeding 10 figures. Our attorneys have been nominated for numerous regional and
national trial lawyer awards, and we’ve won many landmark decisions in state and federal
appellate courts, including the Supreme Court of the United States.

The National Law Journal has repeatedly honored Korein Tillery as one of the country’s top
plaintiffs’ firms by naming it to its “Plaintiffs’ Hot List” seven times in the past 15 years. In
2014 and 2015, Korein Tillery was named by the NLJ as a member of its top 50 Elite Trial
Lawyers. The American Bar Association’s Securities Litigation Journal deemed two of
Korein Tillery’s cases, Kircher v. Putnam Funds Trust, 547 U.S. 633 (2006) and Merrill Lynch
Pierce Fenner & Smth, Inc. v. Dabit, 547 U.S. 71 (2006), the two most important securities law
decisions in 2006. Securities Litigation Journal, Top 10 Securities Law Decisions of 2006 (Winter
2006). In Kircher, Korein Tillery served as lead counsel for the plaintiffs’ class from the initial
trial court filing to the Supreme Court of the United States, where the Court reversed the
Seventh Circuit in a 9-0 decision.

Korein Tillery has been appointed as class counsel in more than fifty class actions and has
successfully negotiated some of the country’s largest class action settlements. See, e.g., Parker
v. Sears Roebuck & Co., Case No. 04-L-716 (Ill. Cir. Ct. Jan. 16, 2008) (settlement valued at
$544.5 million); Cooper v. The IBM Pers. Pension Plan, 2005 WL 1981501, 35 Employee
Benefits Cas. 2488 (S.D. Ill. Aug. 8, 2005) ($325 million settlement); Sparks v. AT&T Corp.,
96-LM-983 (Ill. Cir. Ct. Nov. 4, 2002) ($350 million settlement); Sullivan v. DB Investments,
Inc., 04-2819 (D.N.J. May 22, 2008) ($323 million settlement); Folkerts v. Illinois Bell Tel. Co.,
95-L-912 (Ill. Cir. Ct. July 7, 1998) ($252 million settlement); Berger v. Xerox Corp. Ret. Income
Guar. Plan, 2004 WL 287902, 32 Employee Benefits Cas. 1362 (S.D. Ill. Jan. 22, 2004) ($240
million settlement); Malloy v. Ameritech, 98-488-GPM (S.D. Ill. July 21, 2000) ($180 million
settlement); City of Greenville v. Syngenta Crop Prot., Inc., 3:10-CV-188-JPG-PMF, 2012 WL
1948153 (S.D. Ill. May 30, 2012) ($105 million settlement); In Re: MCI Non-Subscriber Tel.
Rates Litig., MDL 1275 (S.D. Ill. Apr. 19, 2001) ($99 million settlement); and Dunn v. BOC
Group Pension Plan, 01-CV-382-DRH (S.D. Ill. Mar. 12, 2004) ($70 million settlement).




                                  Korein Tillery is a Limited Liability Company
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Key Team Members:

Stephen M. Tillery
Stephen Tillery is the senior and founding member of the firm. With more than 35 years of
trial experience, Mr. Tillery has acted as lead counsel in hundreds of complex cases at both
the trial and appellate levels that have resulted in some of the largest trial verdicts and
settlements in the United States.

Mr. Tillery completed his undergraduate studies at Illinois College (B.A. magna cum laude, Phi
Beta Kappa) in 1972. Thereafter he attended Saint Louis University School of Law (J.D. cum
laude, Order of the Woolsack, 1976). While obtaining his law degree, Mr. Tillery was a law
clerk for the Honorable James L. Foreman, United States District Court for the Southern
District of Illinois. Following graduation from law school, he was a law clerk to the
Honorable George J. Moran, Fifth District Court of Appeals of Illinois.

Mr. Tillery is a member of the Illinois Trial Lawyers Association, where he has been one of
the elected Board of Managers since 1987, and for which he has chaired and served on
numerous committees. Mr. Tillery is also a member of the Illinois Bar Association, the
Missouri Association of Trial Attorneys, the St. Louis Metropolitan Bar Association, the St.
Clair County Bar Association, and the American Association for Justice. He serves as a
board member of Public Justice. Mr. Tillery was named one of the National Law Journal’s
2023 Plaintiffs’ Lawyer Trailblazers, in recognition of his 11 years of work to secure a
massive settlement from Syngenta and Chevron for clients who developed Parkinson’s
disease and other neurological defects as a result of exposure to the weed killer Paraquat. He
was also named Litigation Daily’s Litigator of the Week on May 1, 2014, for successfully
reinstating the trial court’s $10.1 billion verdict in Price v. Philip Morris, Inc., 2014 IL App (5th)
130017, 2014 WL 1696280 (Ill. App. Ct. Apr. 29, 2014).

Mr. Tillery has written numerous legal articles and has served as lecturer, moderator, and
panel member at dozens of legal seminars relating to litigation and trial practice. He was an
adjunct professor at Saint Louis University School of Law for eleven years, and was Co-
Director of the Advanced Trial Advocacy Program there from 1983 to 1988.

Garrett Broshuis
Garrett Broshuis is a nationally-recognized attorney who has performed prominent roles in
some of the most complex cases in the country. He was the lead attorney in a landmark case
challenging the pay scheme for minor league baseball players, which settled for $185 million
in what is believed to be the largest settlement for minimum wage violations in history.
Garrett led the case through a successful class certification appeal, Senne v. Kansas City Royals
Baseball Corp., 934 F.3d 918, 922 (9th Cir. 2019), and through summary judgment
proceedings.

He was also part of a trial team that won a $40 million judgment in a class action against a
major telecommunications company, which was affirmed on appeal. He currently represents

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classes of municipalities in several actions against Fortune 500 and other large companies,
and has successfully represented cities in various appeals, including successful arguments
before the Seventh Circuit and Eighth Circuit Courts of Appeals. He represents a class of
retirees challenging the termination of their defined benefit plans by a Fortune 500 company
that recently succeeded at summary judgment, and represents a putative class of college
athletes in an antitrust case.

Garrett's work was recently recognized by the national labor group Jobs with Justice for its
Eleanor Roosevelt Human Rights Award. The Daily Journal named him a Leading
Commercial Litigator, and the National Law Journal named him to its Plaintiffs’ Lawyers
Trailblazers List in 2023. His work is regularly profiled in media outlets across the country,
including HBO’s Real Sports with Bryant Gumbel, MSNBC’s various shows, NPR’s various
programs, The Washington Post, The Wall Street Journal, and many other publications.

He is an adjunct professor at Saint Louis University School of Law and often speaks at
conferences and law school symposia. He received his J.D. from Saint Louis University,
where he graduated valedictorian and served as Editor-in-Chief of the Law Journal. He is
licensed in California, Missouri, Illinois, and New York, as well as the United States Supreme
Court and many other federal courts.

Before law school, Garrett played six years as a pitcher in the San Francisco Giants’
organization, working at all levels of minor league baseball. Garrett received his
undergraduate degree from the University of Missouri, where he graduated summa cum
laude and was inducted into the prestigious Phi Beta Kappa honors society. He earned both
All-American and Academic All-American honors in baseball after recording a perfect 11-0
record in his final year at Mizzou. He was a finalist for the Big 12 Conference Male Athlete
of the Year and also earned the school’s Total Person Program Excellence Award three
times.

Steven M. Berezney
Steven Berezney is a partner at Korein Tillery’s St. Louis office. Mr. Berezney received his
J.D. from the University of Illinois Urbana-Champaign College of Law in 2003 (magna cum
laude), where he served as Editor-in-Chief of the Law Review. He is licensed in Illinois,
California, New York, Missouri, and the District of Columbia, as well as the Supreme Court
of the United States, the U.S. Court of Appeals for the Second, Fifth, Sixth, Seventh, Eighth,
Ninth, and Eleventh Circuits, and nine federal district courts.

Since joining Korein Tillery in 2012, Mr. Berezney managed and litigated all aspects of multi-
billion dollar cases in federal trial and appellate courts against Wall Street investment banks
arising from misrepresentations made about residential mortgage-backed securities
(“RMBS”) in violation of the federal 1933 Securities Act and state law. Mr. Berezney played
a significant role in obtaining over $5 billion in recoveries for NCUA and CUNA Mutual,
including running or co-running several of the cases.


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Mr. Berezney also helped develop and litigate Sherman Act price fixing conspiracy claims
raised against 16 investment bank defendants in In re: Foreign Exchange Benchmark Rates
Antitrust Litigation, No. 13-cv-07789-LGS (S.D.N.Y.), resulting in $2.3 billion in
recoveries. Mr. Berezney cross-examined one witness at trial against the sole nonsettling
defendant in 2022.

Mr. Berezney is currently serving as court-appointed co-lead class counsel in two class action
cases filed in Missouri seeking unpaid franchise fees from video streaming services such as
Netflix, Hulu, DIRECTV, DISH Network, and Sling TV. City of Creve Coeur v. Netflix, Inc. &
Hulu, LLC, No. 18SL-CC02819 (St. Louis County Mo.); City of Creve Coeur v. DIRECTV
LLC, DISH Network Corp., DISH Network LLC, and Sling TV L.L.C., No. 18SL-CC02821
(St. Louis County Mo.). Mr. Berezney is also pursuing similar cases in Indiana and Texas.
City of Fishers et al. v. Netflix, Inc. et al., 49D01-2008-PL-026436 (Marion County Ind.); City of
Dallas v. Disney DTC, LLC, No. DC-22-09128 (Dallas County Tex.). The City of Creve Coeur
cases were the first of their kind in the nation and the first to obtain a substantive ruling
recognizing the viability of the claims.

Before joining Korein Tillery, Mr. Berezney served as a judicial law clerk for Judge Laura
Denvir Stith of the Supreme Court of Missouri immediately after graduating law school.
Upon completing his clerkship, Mr. Berezney joined Husch Blackwell in 2004 and became a
Partner in 2012. While at Husch Blackwell, Mr. Berezney represented clients in the
agriculture, retail, tax, financial, and consumer goods industries, including Fortune 500
companies, in complex litigation involving contract disputes and business torts in both trial
and appellate courts. Mr. Berezney was part of the team that won a $1 billion judgment that,
at the time, was the fourth largest patent infringement jury verdict in U.S. history, according
to Bloomberg. Monsanto Co. v. E.I. DuPont de Nemours & Co., 4:09-cv-00686-ERW (E.D. Mo.
Aug. 1, 2012). He also served as either lead or co-lead on bench and jury trials on behalf of
both plaintiffs and defendants. E.g., TVI, Inc. v. InfoSoft Technologies, Inc., 4:06-cv-697-JCH,
2008 WL 239784 (E.D. Mo. 2008) (obtained a plaintiff’s verdict in a bench-tried breach of
contract case involving undelivered hardware equipment and a terminated software license);
Intertel, Inc. v. Sedgwick Claims Mgmt. Servs., Inc., 02CC-000772 (Mo. Cir. Ct., Apr. 29, 2008)
(obtained a favorable defense jury verdict on behalf of a claims management company in
which plaintiff sought more than $50 million in damages based on an alleged failure under a
contract to refer claims for investigation).

The Firm’s Recent Work:

In re GSE Bonds Antitrust Litig.: Korein Tillery, along with co-counsel, alleged antitrust
violations arising from coordinated price-fixing in the secondary market for bonds issued by
the government-sponsored entities Federal National Mortgage Association, Federal Home
Loan Mortgage Corporation, Federal Farm Credit Banks, and Federal Home Loan Banks
(“GSE Bonds”). Plaintiffs defeated two motions to dismiss and reached a settlement with all
defendants, including Deutsche Bank Securities Inc., First Tennessee Bank, N.A., FTN
Financial Securities Corp., Goldman Sachs & Co. LLC, Barclays Capital Inc., BNP Paribas

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Securities Corp., Cantor Fitzgerald & Co., Citigroup Global Markets Inc., Credit Suisse
Securities (USA) LLC, HSBC Securities (USA) Inc., J. P. Morgan Securities LLC, Merrill
Lynch, Pierce, Fenner & Smith Inc., Morgan Stanley & Co., LLC, Nomura Securities
International, Inc., SG Americas Securities LLC, TD Securities (USA) LLC, and UBS
Securities LLC. The combined settlement provided $386.5 million to class members and was
approved by the court on June 18, 2020.

Senne v. The Office of the Comm’r of Baseball, No. 14-CV-00608-JCS (N.D. Cal.).
In this action, Korein Tillery was co-lead counsel for a class of minor league baseball players
who alleged that MLB and MLB’s member franchises failed to pay the players minimum
wage, required overtime pay, or sometimes any wages at all. The players asserted two claims
under the federal Fair Labor Standards Act (“FLSA”) and an additional thirty-one under the
wage-and-hour laws of several states.

On October 20, 2015, the Court granted the players conditional certification of a collective
under the Fair Labor Standards Act. Senne, 2015 WL 6152476 (N.D. Cal. Oct. 20, 2015). A
court-directed notice was sent, and around 2,300 players joined the collective. In March
2017, the court certified a Rule 23 class of minor leaguers who played in California. Senne,
2017 WL 897338 (N.D. Cal. Mar. 7, 2017).

The parties cross-appealed, with MLB arguing that no class should have been certified, and
the players arguing that the court should have certified additional classes. On August 16,
2019, the Ninth Circuit agreed with the players. It affirmed the certification of the class of
players who worked in California, and it certified additional classes for players who worked
during spring training and other periods in Arizona and Florida. MLB petitioned the Ninth
Circuit for an en banc re-hearing, which was denied, and then petitioned the U.S. Supreme
Court for review, which was also denied. 934 F.3d 918 (9th Cir. 2019), cert. denied, 141 S.
Ct. 248 (2020).

On March 29, 2023, the Court granted final approval of a $185 million settlement in the case,
one of the largest wage-and-hour settlements in history.

In re: Foreign Exchange Benchmark Rates Antitrust Litigation, No. 13-cv-07789-LGS
(S.D.N.Y.) (Schofield, J.)
The global foreign exchange (“FX”) market for currency is a $1-trillion-per-day market, with
the dominant dealers representing over 90 percent of the global FX market. Beginning as
early as 2003 and continuing through 2013, these dealers used communications in multiple
secret chat rooms to conspire to fix spot prices in dozens of currency pairs, manipulate FX
benchmark rates, and exchange key confidential customer information in an attempt to
trigger client stop loss orders and limit orders. These dealers constituted some of the largest
financial institutions in the world, including Bank of America, Barclays, BNP Paribas,
Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, HSBC, JPMorgan Chase & Co.,
Morgan Stanley, Royal Bank of Scotland, and UBS.


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Korein Tillery, working with co-counsel Scott+Scott Attorneys at Law, LLP and Hausfeld
LLP, developed and filed a class action on behalf of individuals who entered into FX
transactions in over-the-counter exchanges and/or on exchanges with these dealers, alleging
violations of Sections 1 and 3 of the Sherman Antitrust Act and violations of the Commodity
Exchange Act. As a result of nearly 6 years of work by Korein Tillery and its co-counsel
costing the firms nearly $30 million in case-related expenses, $2.3 billion in court-approved
settlements were reached with 15 of the 16 defendants, constituting one of the largest antitrust
class action recoveries in history. Mediator Kenneth Feinberg concluded that this settlement
would “represent[ ] some of the finest lawyering toward a negotiated resolution that I have
witnessed in my career” and described Korein Tillery and its co-counsel as “superlative,
sophisticated, and determined plaintiffs’ lawyers.”

In re Google Digital Publisher Antitrust Litigation: Korein Tillery has been appointed
interim co-lead counsel representing a class of online publishers that sell ad space on their
websites using tools that they purchase from Google. Plaintiffs allege that Google engaged in
a series of mutually reinforcing anticompetitive acts in adjoining markets to acquire and
maintain monopoly power over the markets for these tools, in violation of the Sherman Act
and California’s Unfair Competition Law.

In re: Google Play Consumer Antitrust Litigation: Korein Tillery, working with co-
counsel, filed the first consumer class action in the nation alleging that Google’s operation of
Google Play Store and Google Play Billing, among other actions, created a wrongful monopoly
over the distribution of applications and payment for in-application purchases in the Android
ecosystem. Over ten similar complaints followed and are now consolidated before Judge James
Donato in the Northern District of California, where Korein Tillery serves as a member of
the consumer class steering committee.

National Credit Union Administration Mortgage-Backed Securities Litigation.
The National Credit Union Administration (“NCUA”) is the independent federal agency
created by the U.S. Congress to regulate, charter, and supervise federal credit unions. On
behalf of the NCUA, Korein Tillery and co-counsel Kellogg, Hansen, Todd, Figel &
Frederick filed approximately 20 federal lawsuits throughout 2011-2013 alleging that Wall
Street investment banks misled credit unions about the quality of certain residential
mortgage-backed securities (“RMBS”), causing billions of dollars of losses that the NCUA
insured. More specifically, NCUA alleged that these banks violated the Federal Securities Act
by representing in federally-regulated offering documents that all loans backing the RMBS
complied with originator underwriting guidelines or had sufficient compensating factors to
allow exceptions to the guidelines when in fact the majority of the loans did not.

Throughout several years of contentious litigation, involving several successful appeals,
Korein Tillery and Kellogg Hansen obtained more than $5.1 billion in legal settlements on
NCUA’s behalf, including but not limited to:



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    NCUA v. JP Morgan Chase Bank, 2:13-cv-02012-JWL (D. Kan.) (obtained $1.4 billion
     settlement in Dec. 2013);
    NCUA v. RBS Sec., Inc., 1:13-cv-06726-DLC (S.D.N.Y.) (accepted offer of judgment
     for $129.6 million plus fees in Sept. 2015);
    NCUA v. Barclays Capital, Inc., 1:13-cv-06727-DLC (S.D.N.Y.) & 2:12-cv-02631-JWL
     (D. Kan.) (obtained $325 million combined settlement in Oct. 2015);
    NCUA v. Wachovia Capital Markets LLC, 1:13-cv-06719-DLC (S.D.N.Y.) & 2:11-cv-
     02649-JWL (D. Kan.) (obtained $53 million combined settlement in Oct. 2015);
    NCUA v. Morgan Stanley & Co., Inc., 1:13-cv-06705-DLC (S.D.N.Y.) & 2:13-cv-02418-
     JWL (D. Kan.) (obtained $225 million combined settlement in Dec. 2015);
    NCUA v. Goldman Sachs and Co., 1:13-cv-06721-DLC (S.D.N.Y.) & 2:11-cv-06521-
     GW-JEM (C.D. Cal.) (obtained $575 million combined settlement in Apr. 2016);
    NCUA v. RBS Sec., Inc. et al., 11-cv-2340- JWL-JPO (D. Kan.) & 2:11-cv-05887 GW-
     JEM (C.D. Cal.) (obtained $1.1 billion combined settlement in Sept. 2016);
    NCUA v. UBS Securities, LLC, 2:12-cv-02591-JWL (D. Kan.) (obtained $445 million
     settlement in Mar. 2017); and
    NCUA v. Credit Suisse Sec. (USA) LLC, 2:12-cv-02648-JWL (D. Kan.) (obtained $400
     million settlement in Mar. 2017).

NCUA was the first federal regulatory agency for depository institutions to recover losses
from investments in these securities on behalf of failed financial institutions. NCUA uses the
net proceeds to reduce Temporary Corporate Credit Union Stabilization Fund (Stabilization
Fund) assessments charged to federally insured credit unions to pay for the losses caused by
the failure of five corporate credit unions.

Korein Tillery and Kellogg Hansen continue to prosecute several lawsuits on behalf of the
NCUA against certain RMBS trustees regarding their alleged failure to perform their duties.

Sullivan v. DB Investments, Inc.: Korein Tillery represented a nationwide class of diamond
purchasers in an antitrust case against the country’s largest diamond distributor. That case was
consolidated with others in the Eastern District of Pennsylvania and Korein Tillery was
appointed co-lead counsel. In that role, the firm helped negotiate injunctive relief and a
nationwide settlement that created a $323 million fund to compensate diamond purchasers.

United States ex rel. Garbe v. Kmart Corp., 3:12-cv-00881-NJR-PMF (S.D. Ill.).
Since 2004, Kmart pharmacies have charged low, flat-rate prices for certain generic drug
prescriptions when those drugs are purchased by customers who paid entirely out of their
own pockets with no insurance coverage. Since the beginning of the Medicare Part D drug
program on January 1, 2006, however, Kmart has charged higher prices—often significantly
higher prices—to customers with Medicare Part D coverage than it charges self-paying
customers for the same prescription. For example, Kmart charged cash customers $10 for a
60-day supply of 500 mg Naproxen (available in non-prescription strength as Aleve®), but
charged the Government $58.79 for the same prescription.
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Korein Tillery and co-counsel Phillips & Cohen filed a False Claims Act case against Kmart
after the Government declined to intervene. In the litigation, Kmart never disputed that it
charges cash-paying customers lower prices than it charges to the Government. Instead,
Kmart contended that it was never required to charge the Government the lower prices
because those are not the prices Kmart charges to “the general public.” Rather, Kmart
claimed its cash-customers are not the “general public” but rather members of an exclusive
“club” through which they are offered the discount prices, even though as a practical matter
the discount prices are the prices Kmart charges to all its cash customers. Kmart also has no
record of denying any cash-paying customer “membership” in Kmart’s “club.” The U.S.
District Court for the Southern District of Illinois rejected Kmart’s arguments and denied its
motions for summary judgment. Kmart appealed, but the Seventh Circuit affirmed the
district court in large part. United States ex rel. Garbe v. Kmart Corp., 824 F.3d 632 (7th Cir.
2016). After remand, the case settled in late 2017 with Kmart agreeing to pay approximately
$59 million.

Lightfoot v. Arkema, Inc. Ret. Benefits Plan, CIV. 12-773 JBS/JS (D.N.J.).
After the court certified a class of present and former retirement benefits plan participants,
plaintiffs filed a motion for partial summary judgment on the issue of whether the COLAs
the Plan promised to participants who elected annuities were part of participants’ “accrued
benefit” under ERISA. The Plan countered with a motion for summary judgment arguing
the statute of limitations had run on all class members’ claims owing to statements in a 1994
Summary Plan Description (SPD) and other plan documents. Although the same judge had
previously ruled that the statements in the SPD and Plan were “clear repudiations” in a
companion case, Korein Tillery convinced the court to deny the Plan’s motion for summary
judgment and to grant plaintiffs’ motion for partial summary judgment, finding that the
COLAs promised annuitants were accrued benefits. 2013 WL 3283951 (D.N.J. June 27,
2013). The case settled in 2014 with the average class member receiving $11,000 in cash that
could be rolled into a retirement account.

City of Greenville v. Syngenta Crop Prot., Inc., 3:10‐CV‐188‐JPG‐PMF (S.D. Ill.).
On October 23, 2012, the U.S. District Court for the Southern District of Illinois entered an
order approving a $105 million class‐action settlement designed to compensate Community
Water Systems throughout the United States for the cost of removing the pesticide atrazine
from public drinking water. The litigation between class members and Syngenta dated back
to July 2, 2004, when Holiday Shores Sanitary District filed six separate lawsuits against
manufacturers and distributors of atrazine and atrazine‐containing products in the Illinois
Circuit Court in Madison County.

Atrazine is used to control broadleaf and grassy weeds in a variety of crops, but is applied
primarily to corn fields. Atrazine has been one of the most heavily used pesticides in the U.S.
Two of atrazine’s key chemical characteristics—that it does not readily bind to soil and that
it persists in the environment—dramatically increase atrazine’s effectiveness as an herbicide.
However, because atrazine does not bind to soil, it easily runs off of fields with rainfall and
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contaminates surface waters such as rivers, lakes, and reservoirs that act as drinking‐water
supplies for public water providers.

Plaintiffs alleged that atrazine had continuously entered their water supplies, and, as a result
of this contamination, they had to filter atrazine from their water sources. After eight years
of litigation, Korein Tillery secured a $105 million settlement fund to be distributed to
several hundred community water systems for costs of filtration of atrazine from their
drinking‐water supplies. City of Greenville v. Syngenta Crop Prot., Inc., No. 3:10‐CV‐188‐JPG‐
PMF, 2012 WL 1948153 (S.D. Ill. May 30, 2012); see also 904 F. Supp. 2d 902 (S.D. Ill. 2012)
(granting final approval of settlement and attorneys’ fees). The settlement amounted to
approximately 76 percent of the $139 million estimated to be the Class’s maximum potential
recovery.

To facilitate the settlement claims process, Korein Tillery lawyers collected 20 years of
atrazine testing data into a database that was made available to each class member through a
settlement website. From there, Claimants were able to view the test data already collected
for their system and provide additional evidence of atrazine contamination to claim their
share of the settlement fund. Although many class actions experience claims rates of less
than 15 percent, in this case virtually all settlement funds were distributed to class members.

Public Justice honored the Korein Tillery lawyers representing the plaintiffs in this case as
finalists for its Trial Lawyer of the Year award.

Missouri Utility Tax Litigation
Since 2007, Korein Tillery has represented Missouri municipalities in class action litigation
that sought to recover unpaid license taxes. In suits against wireless and wireline carriers,
Korein Tillery attorneys recovered hundreds of millions of dollars of license tax revenues—
both retrospectively and prospectively—for more than 350 cities throughout Missouri.
Korein Tillery has recovered more than $1 billion for Missouri municipalities. As a result of
their work in these cases, the Missouri Lawyers Weekly recognized Korein Tillery partners
John W. Hoffman and Douglas R. Sprong with awards in the “largest plaintiff wins”
category in 2007, 2009, 2010, 2015, and 2017.

In 2012, Korein Tillery was successful in persuading the Supreme Court of Missouri to issue
an extraordinary writ (mandamus) declaring unconstitutional a state statute that sought to
sweep away this litigation by barring cities and towns from serving as class representatives.
State ex rel. Collector of Winchester v. Jamison, 357 S.W.3d 589 (Mo. 2012).

Mansfield v. ALPA, 06-c-6869 (N.D. Ill.).
Beginning in 2001, United Airlines encountered financial difficulties that ultimately
culminated in its filing for bankruptcy protection. During the course of United’s
reorganization in bankruptcy, United sought to terminate its pilots’ defined benefit pension
plan. In exchange for ALPA’s agreement not to oppose the termination of the pension plan,
United agreed to provide ALPA with $550 million in convertible notes. ALPA, through its
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United Airlines Master Executive Council (“MEC”), was tasked with allocating the proceeds
from the sale of the convertible notes among the pilots. The MEC selected an allocation
method that divided the note proceeds based upon each pilot’s lost accrued benefits and lost
projected benefits.

Korein Tillery filed this case in 2006 contending that ALPA breached its duty of fair
representation in discriminating between its members in allocating the proceeds from the
sale of $550 million in convertible notes. Korein Tillery prevailed on a number of complex
and novel issues in the trial court. For example, ALPA moved to exclude retirees from the
class, arguing that a union owes no duties to retired pilots under the Railway Labor Act. The
court denied ALPA’s motion, agreeing with plaintiffs that because ALPA represented the
retirees when it negotiated the convertible notes, it owed them a duty even though the
retirees were no longer a part of the bargaining unit. Mansfield v. ALPA, 2007 WL 2903074
(N.D. Ill. Oct. 1, 2007). After Korein Tillery also successfully opposed motions for summary
judgment, 2009 WL 2386281 (N.D. Ill. Jul. 29, 2009), and to decertify the class, 2009 WL
2601296 (N.D. Ill. Aug. 20, 2009), the parties reached a settlement two weeks before trial.
Per the settlement, ALPA funded an aggregate settlement fund of $44 million to be paid
directly to class members. Mansfield v. ALPA, No. 06C6869 (N.D. Ill. Dec. 14, 2009). The
settlement is believed to be one of the largest ever in a duty of fair representation case, in
which unions are sued over their responsibility to fairly represent their members.

Williams v. Rohm & Haas Pension Plan, 4:04-cv-0078-SEB-WGH (S.D. Ind.).
Korein Tillery filed this class action in 2002 alleging that the Rohm & Haas Pension Plan
violated ERISA by failing to include the value of future cost-of-living adjustments (COLA)
in calculating lump-sum distributions from the Plan. After eight years of litigation, Korein
Tillery obtained one of the largest settlements in the history of ERISA—$180 million. In
2006, the case was certified and Korein Tillery won summary judgment convincing the
district court that the terms of the Plan violated ERISA because a COLA is an “accrued
benefit” requiring that it be included in lump-sum distributions. The district court’s decision
was affirmed on interlocutory appeal. Williams v. Rohm & Haas Pension Plan, 497 F.3d 710,
714 (7th Cir. 2007) (“If a defined benefit pension plan entitles an annuitant to a COLA, it
must also provide the COLA’s actuarial equivalent to a participant who chooses instead to
receive his pension in the form of a one-time lump sum distribution.”), cert. denied, 128 S. Ct.
1657 (2008). Settlement approval and the fee award were later affirmed. 658 F.3d 629 (7th
Cir. 2011).

Parker v. Sears, Roebuck & Co., Case No.: 04-L-716 (Ill. Cir. Ct. Sept. 18, 2007).
Korein Tillery brought this action against Sears in 2004 to remedy Sears’s failure to install
anti-tip safety devices, which prevent ranges from tipping over and severely burning or
injuring unsuspecting consumers, on ranges that it sold, delivered, and set-up in customers’
homes. In the 1960s and 1970s, kitchen range manufacturers started reducing the weight of
metal in an effort to competitively lower the price of kitchen ranges. Over the course of
several years, advances in materials allowed manufacturers to produce ranges which were
durable and light weight. However, because the oven doors on the front of the ranges serve

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as a lever and fulcrum, the light weight of the new ranges created an extremely dangerous
tipping hazard. For example, if a person were to place a turkey roaster on an open and
horizontal oven door, the added weight would cause these newly designed ranges to tip
forward, spilling the hot contents onto anyone standing in the vicinity. Children who
opened the range and used the door as a step could unwittingly tip boiling liquids onto
themselves. Dozens of people had been killed and hundreds had been maimed as a result of
this problem.

Recognizing the need for a solution to this dangerous hazard, manufacturers and regulators
began requiring installation of an anti-tip bracket that could be attached to the wall or floor
at the back end of the range, preventing any forward tipping and maintaining complete
stability. The installation is simple and the lightweight bracket costs pennies. The rule
making bodies of most codes (BOCA Code, National Electrical Code; numerous other
industry codes) thereafter required the installation of anti-tip brackets in all range
installations in the United States. Even Sears acknowledged that a properly installed anti-tip
bracket completely eliminates the hazards of tipping stoves.

Sears, Roebuck & Company at the time was the largest retail seller of kitchen ranges in the
United States—averaging more than 800,000 ranges sold every year. When selling a gas or
electric range, Sears generally includes delivery, installation, and hookup in customers’
homes; thus, Sears became the largest installer of kitchen ranges in the United States. To
increase its profits, Sears adopted a policy of refusing to install anti-tip brackets during
normal installation unless the customer agreed to incur a substantial cost. At the same time,
Sears failed to disclose the hazards associated with forgoing anti-tip bracket installation.

In January 2008, the Court granted final approval of a settlement which provided complete
relief to the class by requiring Sears to install anti-tip brackets for the affected members of
the class as well as requiring the installation of such brackets in the future. The settlement is
valued at more than $544.5 million.

This settlement was touted by the public interest organization Public Citizen as an example
of how consumer class actions benefit society. Public Citizen nominated Stephen Tillery as
Trial Lawyers for Public Justice’s Trial Lawyer of the Year based upon his role in this case.

Hoormann v. SmithKline Beecham Corp., 04-L-715 (Ill. Cir. Ct. May 17, 2007).
In July 2004, Korein Tillery filed suit on behalf of a nationwide class of purchasers alleging
that SmithKline Beecham promoted Paxil® and Paxil CR™ for prescription to children and
adolescents despite having actual knowledge that these drugs exposed children and
adolescents to dangerous side effects while failing to treat their symptoms. Following three
years of litigation, Korein Tillery obtained a settlement that established a $63.8 million dollar
fund to reimburse class members 100 percent of their out-of-pocket expenses. This case was
featured in The American Lawyer, Aruna Viswanatha, King & Spalding Lawyer Stirs State
Judge’s Ire, [29] 1 Am.Law., Jan. 2007, at 50, and mentioned in the National Law Journal. The
Plaintiffs’ Hot List, 30 Nat’l L.J. S8 (Nov. 22, 2007).

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CUNA Mutual Mortgage-Backed Securities Litigation.
CMFG Life Insurance Company, CUMIS Insurance Society, Inc., and MEMBERS Life
Insurance Company (collectively referred to as “CUNA Mutual”) are financial services and
insurance firms that offer insurance, investment, and retirement products and services to
credit unions and their members. Korein Tillery and Kellogg Hansen filed a series of
individual lawsuits in 2011 and 2013 on behalf of CUNA Mutual against eight Wall Street
investment banks seeking to recover losses on $300 million of RMBS purchases using the
novel common-law theory of contract rescission.

As in NCUA, CUNA Mutual alleged that the banks misrepresented in offering documents
that all loans backing the RMBS complied with originator underwriting guidelines or had
sufficient compensating factors to allow exceptions to the guidelines. CUNA Mutual also
alleged that the banks misrepresented that it conducted due diligence to verify the accuracy
of its offering document representations. In mid-2015, an appellate court issued a favorable
opinion in CUNA Mutual’s bellwether case approving of CUNA Mutual’s primary litigation
arguments. CMFG Life Ins. Co. v. RBS Sec., Inc., 799 F.3d 729 (7th Cir. 2015). On remand, the
case settled in December 2015 for a confidential amount. CUNA Mutual eventually settled
its remaining RMBS cases over the next two years for confidential amounts. See, e.g., CMFG
Life Ins. Co. v. Credit Suisse Sec. (USA) LLC, 3:14-cv-00249-wmc (W.D. Wis.) (settled in Oct.
2017); CMFG Life Ins. Co. v. Morgan Stanley & Co., LLC, 3:13-cv-00577-jdp (W.D. Wis.)
(settled in Sept. 2017); CMFG Life Ins. Co. v. J.P. Morgan Sec, LLC, 3:13-cv-00580-wmc (W.D.
Wis.) (settled in Mar. 2016).

Axiom Investment Advisors, LLC v. Barclays Bank PLC, No. 15-cv-9323-LGS
(S.D.N.Y.).
From 2008 to 2015, Barclays Bank PLC acted as both a buyer and seller of various foreign
and domestic currencies through various trading platforms. Instead of executing foreign
exchange orders placed by Barclays’ customers on these platforms, Barclays instituted a
secret “last look” policy that delayed execution of matched trades for several hundred
milliseconds or even several seconds which allowed Barclays to determine through its
algorithms whether the trade would be unfavorable to its position. If the matched trade
would be unfavorable, Barclays reneged on the agreed price and rejected the trade or placed
the order at a worse price. Barclays used last look to reject millions of trades that would
otherwise have been executed.

Korein Tillery, along with its co-counsel Scott+Scott, Attorneys at Law, LLP and Hausfeld
LLP, filed a class action against Barclays Bank PLC regarding its use of “last look,” raising
breach of contract and other claims. The court appointed Korein Tillery and Scott+Scott as
class counsel. Counsel was successful in securing a $50 million settlement from Barclays on
behalf of the class, which the court ultimately approved.




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                                   SETTLEMENT AGREEMENT


     This Settlement Agreement is made and entered into, subject to Final Approval of the Court,
 as of January 31, 2025, by and between Plaintiffs Taylor Smart and Michael Hacker, individually
 and on behalf of all those similarly situated including Class Members (hereinafter “Plaintiffs”),
 and Defendant National Collegiate Athletic Association (hereinafter “Defendant” or “NCAA”).

 1. RECITALS

    1.1. WHEREAS, the Settlement (as hereinafter defined) has been reached, subject to the
         Final Approval of the Court as provided herein, after extensive, arm’s-length
         negotiations between Plaintiffs’ and Defendant’s Counsel extending for many months;
         and

    1.2. WHEREAS, the Parties previously participated in a mediation session before
         professional mediator Fouad Kurdi. The Parties did not reach a settlement at
         mediation but resumed arms’ length negotiations after further developments in the
         case, including the filing of briefs and expert declarations regarding class certification.

    1.3. WHEREAS, the Plaintiffs and their Counsel have concluded, after a thorough
         investigation and after carefully considering the relevant circumstances, including,
         without limitation, the claims asserted, the legal and factual defenses thereto, and the
         applicable law, the burdens, risks, uncertainties, and expense of litigation, as well as the
         fair, cost-effective, and assured method of resolving the claims, that it would be in the
         best interests of the Settlement Class to enter into this Settlement Agreement in order
         to avoid the uncertainties of litigation and to assure that the benefits reflected herein
         are obtained for the Settlement Class, and further, that Plaintiffs and their Counsel
         consider the Settlement set forth herein to be fair, reasonable, and adequate and in the
         best interests of the Settlement Class; and

    1.4. WHEREAS, Defendant, while continuing to deny any violation, wrongdoing, or
         liability with respect to any and all claims asserted in the Litigation, either on its part or
         on the part of any of the Released Parties, have nevertheless concluded that it will enter
         into this Settlement Agreement in order, among other things, to avoid the expense, in-
         convenience, and uncertainty of further litigation.

    1.5. NOW, THEREFORE, the undersigned agree, on behalf of Defendant and Plaintiffs,
         that subject to the Final Approval of the Court, the Litigation be settled, compromised,
         and dismissed with prejudice in accordance with the terms of this Settlement
         Agreement, and without costs against the Settlement Class or Defendants (except as
         provided below), on the following terms and conditions:

 2. DEFINITIONS. As used in this Agreement and its Exhibits, the following
    capitalized terms shall have the respective meanings set forth below.

    2.1. Acceptance Period. The term “Acceptance Period” means the 120 days that a
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            participating Class Member has to sign and negotiate a Settlement Payment.

    2.2. Agreement. The term “Agreement” or “Settlement Agreement” shall mean and refer
         to this document evidencing a mutual settlement and release of disputed claims, and it
         shall also incorporate those other documents exhibited to, contemplated by, and/or
         identified in this Agreement including, but not limited to, the Notice.

    2.3. Business Day. Shall mean any day other than a Saturday, Sunday, or legal holiday in
         the United States of America as defined by Fed. R. Civ. P. 6(a)(6).

    2.4. Class Counsel. “Class Counsel” shall mean and refer to Garrett R. Broshuis and
         Steven M. Berezney and the law firm of Korein Tillery LLC, 505 North 7th Street,
         Suite 3600, St. Louis, Missouri, 63101, United States of America (hereinafter “Korein
         Tillery”).

    2.5. Class Member. The term “Class Member” shall mean and refer to an individual
         member of the Settlement Class.

    2.6. Class Period. November 29, 2018 through the period ending on the date ninety (90)
         calendar days after the date on which the Court grants Preliminary Approval of the
         Settlement.

    2.7. Court. The term “Court” shall mean and refer to the United States District Court for
         the Eastern District of California, or of any other court, who presides over the
         Litigation or this Agreement.

    2.8. Cy Pres Awardee. The term “Cy Pres Awardee” means the American Baseball
         Coaches Association, on the condition that any funds disbursed to the Cy Pres
         Awardee must be exclusively used for the benefit of college baseball coaches.

    2.9. Defendant. “Defendant” shall mean and refer to the National Collegiate Athletic
         Association (“NCAA”).

    2.10.      Defendant’s Counsel. “Defendant’s Counsel” shall mean and refer to Carolyn
         Hoecker Luedtke, Justin P. Raphael, Megan McCreadie, and the law firm of Munger
         Tolles & Olson LLP, 560 Mission Street, 27th Floor, San Francisco, CA 94105.

    2.11.         Defendant Released Claims. “Defendant Released Claims” shall mean all
            claims and counterclaims that Defendant asserted or could have asserted against
            Plaintiffs arising out of the facts alleged in the Litigation, known or unknown.

    2.12.      Effective Date. “Effective Date” shall mean and refer to the calendar day after
         the judgment becomes final, as defined infra in Section 2.15.

    2.13.     Final Approval. “Final Approval” shall mean the entry by the Court of the
         Order Granting Final Approval of the Settlement.

    2.14.     Final Fairness Hearing. The “Final Fairness Hearing” will be a hearing set by
         the Court where, among other things, the Court, in its discretion, will provide an
         opportunity for any Class Member who wishes to object to the fairness, reasonableness
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        or adequacy of the Settlement an opportunity to be heard, provided that the Class
        Member complies with the requirements for objecting to the Settlement as set out in
        Section 7.4. The date of the Final Fairness Hearing shall be set by the Court and
        communicated to the Settlement Class in a Court-approved Settlement Notice under
        Federal Rule of Civil Procedure 23(c)(2).

    2.15.       Final Judgment. The judgment in this case shall become final on the earliest
         date on which all of the following events shall have occurred: The Settlement is
         approved in all respects by the Court in this case as required by Fed R. Civ. P. 23(e);
         the Court enters a Judgment that certifies the class, terminates this action, extinguishes
         all Plaintiff Released Claims and Defendant Released Claims, and satisfies the
         requirements of Fed. R. Civ. P. 58; and the time for appeal of the Court’s approval of
         this Settlement and entry of the Final Order and Judgment under Fed. R. App. P. 4 has
         expired or, if appealed, approval of this Settlement has been affirmed by the court of
         last resort to which such appeal has been taken and such affirmance has become no
         longer subject to further review (Fed. R. App. P. 40) or appeal (U.S. Sup. Ct. R. 13) or
         the appeal is voluntarily dismissed. (Fed. R. App. P. 42).

    2.16.      Litigation. The Litigation means Smart et al. v. National Collegiate Athletic
         Association, Case No. 2:22-cv-02125 in the United States District Court for the Eastern
         District of California.

    2.17.      Notice. “Notice” shall mean any form through which Class Members are
         notified of their rights with respect to this Agreement in accordance with Section 7.2
         of this Agreement.

    2.18.      Notice Plan. “Notice Plan” shall mean the plan for distribution of the Notice,
         including direct mail and publication, as appropriate, which is subject to the approval
         of the Court as provided in Section 7.1 of this Agreement.

    2.19.      Objection. “Objection” shall have the meaning ascribed to that term by Section
         7.4 of this Agreement.

    2.20.       Order Granting Final Approval. The “Order Granting Final Approval” shall
         mean and refer to the order entered by the Court approving the terms and conditions
         of this Agreement, including the manner and timing of providing Notice, and certifying
         a Settlement Class.

    2.21.      Order Granting Preliminary Approval. “Order Granting Preliminary
         Approval” shall mean and refer to the order entered by the Court conditionally
         approving the terms and conditions of this Agreement, including among other things,
         the conditional certification of the proposed class, the manner and timing of providing
         Notice, the time period for opting out and filing objections, and the date of the Final
         Fairness Hearing.

    2.22.      Parties. “Parties” shall mean and refer to Defendant, Plaintiffs, on behalf of the
         Settlement Class, as defined herein, and to the extent that the Defendant, Plaintiffs on
         behalf of the Settlement Class discharge any of their obligations under this Agreement
         through agents, the actions of those agents shall be considered the actions of the
         Parties.
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    2.23.      Plaintiffs. “Plaintiffs” shall mean the Plaintiffs Taylor Smart and Michael
         Hacker, and anyone acting on their behalf, including in a representative or derivative
         capacity.

    2.24.      Plaintiff Released Claims. “Plaintiff Released Claims” shall mean any and all
         claims of the Plaintiffs and Class Members who do not opt out of the Settlement that
         were asserted or could have been asserted against Released Parties for the Class Period
         arising out of the facts alleged in the Litigation, known or unknown, including for
         avoidance of doubt, any claim for unpaid wages, benefits, or bonuses, or any claim for
         damages for lost opportunities, interference with contract, or restraint of trade.
         Plaintiff Released Claims include, without limitation, any claims for compensation,
         benefits, penalties or any other recovery on the theory that Plaintiffs or Class Members
         who do not opt out of the Settlement were employees of, or contractors for, any
         Released Parties, and thus include, without limitations, claims under state and federal
         minimum wage laws, the federal Fair Labor Standards Act, state and local wage and
         hour statutes and laws, including without limitation any claims under the California
         Labor Code and California Labor Code section 2698 et seq. specifically as well as
         California Business & Professions Code section 17200 and equivalent statutes from
         other states that could have been asserted based on the facts alleged in the Litigation.

    2.25.      Preliminary Approval. “Preliminary Approval” shall mean and refer to the entry
         by the Court of the Order Granting Preliminary Approval of the Settlement.

    2.26.      Released Parties. “Released Parties” shall mean Defendant, all of Defendant’s
         respective past or present members with Division I baseball programs during the Class
         Period as well as all of the directors, trustees, officers, employees, subsidiaries, parents,
         legal representatives, predecessors, successors, affiliates, agents, attorneys,
         shareholders, related entities and divisions, and their successors and assigns of the
         Defendant and its past or present members with Division I baseball programs during
         the Class Period.

    2.27.     Settlement. “Settlement” shall mean the settlement of the Litigation which is
         provided for by this Agreement.

    2.28.      Settlement Administrator. “Settlement Administrator” means Kroll Settlement
         Administration, or any other third-party settlement administrator agreed to by the
         Parties and approved by the Court for the purposes of administering the Settlement.

    2.29.      Settlement Class. “Settlement Class” shall mean and refer to:

     All persons who, pursuant to NCAA Division I Bylaw 11.7.6, served as a “volunteer
     coach” in college baseball at an NCAA Division I school from November 29, 2018 to
     July 1, 2023.

    2.30.     Settlement Fund. “Settlement Fund” shall mean the fund in the gross total
         amount of $49,250,000.00 U.S. Dollars which is provided for by Section 5.1.1 of this
         Agreement.


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 3. REPRESENTATIONS and WARRANTIES

    3.1. Plaintiffs and Defendant represent that they have all requisite power and authority to
         execute, themselves or respectively by Class Counsel or Defendant’s Counsel, deliver
         and perform this Agreement and to consummate the transactions contemplated
         herein, that the execution, delivery and performance of this Agreement have been duly
         authorized by all necessary action, and that this Agreement has been duly and validly
         executed as aforesaid and delivered by Plaintiffs and Defendant and constitutes their
         legal, valid, and binding obligation.

 4. CERTIFICATION FOR SETTLEMENT PURPOSES

    4.1. Settlement Class. For the sole purpose of effectuating this Settlement, Plaintiffs
         and Defendant agree jointly to request that the Court certify a Settlement Class as
         defined in Section 2.29 of this Settlement Agreement. Plaintiffs understand and agree
         that if this Settlement is not approved or if the Litigation resumes for any other
         reason, Plaintiffs shall not argue or contend that this Settlement and agreement to
         class certification for settlement purposes only shall have any effect on a disputed
         motion for class certification in the Litigation or any other litigation.

 5. CONSIDERATION

    5.1. Under the terms of this Agreement, Defendant agrees to provide the following relief
         to the Settlement Class:

       5.1.1. The Settlement Fund

           5.1.1.1.   Defendant will pay the gross sum of $49,250,000.00 U.S. Dollars (the
           “Settlement Fund”), which will fully and finally resolve the Action. This amount is
           non-reversionary, meaning none of the Settlement Fund shall revert to Defendant if
           an Order Granting Final Approval is entered by the Court in the Litigation.

           5.1.1.2.    Any and all of Plaintiffs’ attorneys’ fees, litigation or court costs,
           settlement administration costs, and individual damages payments shall be made
           from the Settlement Fund. No additional payment or amount of any kind shall be
           due or owed by Defendant or the Released Parties as part of this Settlement or the
           resolution of this Action.

           5.1.1.3.    By no later than thirty (30) calendar days after the Final Approval,
           Defendant shall deposit the Settlement Fund into an interest-bearing qualified
           settlement fund (“QSF”) established by the Settlement Administrator. The
           Settlement Administrator will act as escrow agent and will have the authority to
           release the Settlement Fund from escrow for purposes of administering the
           Settlement reflected in, and per the terms of, this Agreement immediately following
           the Effective Date. The Settlement Administrator shall be responsible for
           establishing, administering, and otherwise operating the QSF, including the
           preparation and filing of any needed tax returns.

           5.1.1.4.    Contingency fund. The Settlement Administrator shall set aside
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            $100,000 U.S. Dollars of the QSF to cover any correctable errors or omissions and
            satisfy any claim for relief allowed pursuant to Fed. R. Civ. P. 60(b)(1) or 60(d). Any
            amount remaining 180 calendar days after the Effective Date will be redistributed
            pro rata among the Class Members who have timely accepted payment or, if the
            amount remaining is small enough that a redistribution is not sensible in the
            discretion of Class Counsel, the unclaimed will be donated to the Cy Pres Awardee
            under the cy pres doctrine.

            5.1.1.5 Tax Treatment of Settlement Fund.

         5.1.1.5.1. The Settlement Fund shall be treated as being at all times a “qualified
         settlement fund” within the meaning of Treas. Reg. § 1.468B-1. The Settlement
         Administrator shall timely make such elections as necessary or advisable to carry out
         the provisions of this Section 5.1.1.2, including the “relation-back election” (as defined
         in Treas. Reg. § 1.468B-1), back to the earliest permitted date. Such elections shall be
         made in compliance with the procedures and requirements contained in such
         regulations. It shall be the sole responsibility of the Settlement Administrator to timely
         and properly prepare and deliver any necessary documentation or returns under
         applicable regulations.

 6. ADMINISTRATION

    6.1. All fees and expenses of administration of the Settlement incurred by the Settlement
         Administrator shall be paid out of the Settlement Fund upon approval by the Court.

 7. APPROVAL AND NOTICE

     7.1.      Preliminary Approval. By March 24, 2025, Plaintiffs shall submit to the Court a
     motion seeking (a) certification, for settlement purposes only, of the Settlement Class as
     defined in Section 4.1; (b) approval of the form of Notice requested in the motion; (c)
     approval of the Notice Plan described in the motion and outlined in Section 7.2 infra ; (d)
     appointment of Class Counsel and (e) preliminary approval of the Settlement.

     7.2.        Notice Plan. Plaintiffs will prepare a list of Class Members, including contact
     information for Class Members, in advance of the filing of the motion for preliminary
     approval, and Plaintiffs will provide the class list to the Settlement Administrator within
     five calendar days of the Order Granting Preliminary Approval. Notice of the Settlement
     shall be given as soon as practicable after entry of the Order Granting Preliminary
     Approval in accordance with the timeline established by the Order Granting Preliminary
     approval. The Settlement Administrator will e-mail a Court-approved notice to each Class
     Member for which an e-mail address is available. A Court-approved short-form Postcard
     Notice shall also be provided by the Settlement Administrator to the Settlement Class by
     first-class U.S. mail where available and by publication elsewhere. Defendant shall take all
     necessary steps to comply with 28 U.S.C. § 1715(b).

 7.3. The Settlement Administrator shall provide to Defendant’s Counsel and Class Counsel on
      a weekly basis a status report informing them of the number of Notices sent via e-mail,
      the number of Postcard Notices sent via physical mail, the number of Notices and
      Postcard Notices returned as undeliverable, the number of re-mailings, and the number of
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     timely and valid requests for opt-outs and notices of objections received.

 7.4. Objections to Settlement. Any Class Member who has not opted out of the Settlement
      and who wishes to object to the Settlement or an award of fees, costs, or expenses to Class
      Counsel must file with the Clerk of the Court, with service on all Parties in accordance
      with Fed. R. Civ. P. 5 and E.D. Cal. Local Rules 133–135, a written and signed statement,
      designated “Objection.” Service on the Court and all Parties must be completed by the
      date for doing so designated in the Notice.

    7.4.1. All Objections must certify in accordance with 28 U.S.C. § 1746, under penalty of
          perjury, that the filer has been legally authorized to object on behalf of the Class
          Member and provide an affidavit or other proof of the Class Member’s standing; must
          provide the name, address, telephone and facsimile number, and e-mail address (if
          available) of the filer and the Class Member; the name, address, telephone and
          facsimile number, and e-mail address (if available) of any counsel representing the
          Class Member; must state all objections asserted by the Class Member and the specific
          reason(s) for each objection, and include all legal support and evidence the Class
          Member wishes to bring to the Court’s attention; must indicate if the Class Member
          wishes to appear at the Final Fairness Hearing; and, identify all witnesses the Class
          Member may call to testify.

    7.4.2. Class Members may object either on their own or through any attorney hired at
          their own expense. If a Class Member is represented by counsel, the attorney must:
          file a notice of appearance with the Clerk of Court no later than the date ordered by
          the Court for the filing of Objections and serve all Parties in accordance with Fed.
          R. Civ. P. 5 and E.D. Cal. Local Rules 133–135 within the same time period.

    7.4.3. Any Class Member who fully complies with the provisions of Sections 7.4 through
          7.4.2 may, in the Court’s discretion, appear at the Final Fairness Hearing to object to
          the Settlement or the award of fees, costs, and expenses to Class Counsel. Any Class
          Member who fails to comply with the provisions of Sections 7.4 through 7.4.2 shall
          waive and forfeit any and all rights and objections the Class Member may have asserted
          in this action, and shall be bound by all the terms of the Agreement and by all
          proceedings, orders, and judgments with respect to the Settlement.

    7.4.4. Neither the Parties nor their respective counsel will seek, solicit, or otherwise
          encourage directly or indirectly any Class Member to object to the Settlement or
          appeal from the Order Granting Final Approval.

 7.5. Opt-outs. Any Class Member who wishes to opt out of the Settlement must file with the
      Settlement Administrator (via U.S. mail), with service on all Parties in accordance with Fed.
      R. Civ. P. 5 and E.D. Cal. Local Rules 133–135, a written and signed statement, entitled
      “Request for Exclusion.” Service on the Settlement Administrator and all Parties must be
      completed by the date designated for that purpose in the Notice.

     7.5.1. The Request for Exclusion must (1) provide the Class Member’s name, address,
           telephone number, and e-mail address (if available) (2) indicate that the Class Member
           does not wish to participate in or be bound by the Settlement, (3) be signed individually
           by the Class Member, (4) identify the schools and approximate dates the Class Member
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          served as a volunteer coach, and (5) be postmarked no later than the date designated
          for such purpose in the Notice. No Request for Exclusion may be made on behalf of
          a group.

    7.5.2. Neither the Parties, nor their respective counsel will seek, solicit, or otherwise
          encourage anyone to exclude themselves from the Settlement.

 7.6. Termination. Defendant may terminate this Agreement prior to Final Approval if, based
      upon application of the Parties’ agreed method for calculating gross possible damages (see
      infra section 8.4.2), either (a) more than  of Class Members opt out of the Settlement
      Class or (b) gross possible damages for timely opt-out Class Members are more than         of
      the Settlement Fund. To illustrate with an example, if Coach A had $100,000 gross
      possible damages under the theory set forth in the Declaration of Daniel A. Rascher in
      Support of Motion for Class Certification, ECF No. 63-60, before the gross possible
      damages were scaled to be a proportionate share of the Settlement Fund (i.e., reduced to
      $91,520) and before attorneys’ fees and costs were deducted, and Coach A opted out, this
      would amount to $100,000 towards the calculation of        of the Settlement Fund for
      Section 7.6(b).

      7.6.1. Provided that Plaintiffs or the Settlement Administrator notify Defendants of any
             opt outs from the Settlement within one week of receiving notice that any Class
             Member has opted out, Defendant’s right of termination is waived unless
             Defendant executes this termination right by notice in writing to the Plaintiffs
             served within ten (10) Business Days of the date on which Defendant and
             Defendant’s Counsel are notified in writing by the Settlement Administrator that
             the termination conditions have been met, or the Parties mutually agree to extend
             this time.

      7.6.2. Upon Defendant’s timely exercise of its right of termination, the Parties shall work
             in good faith to try to negotiate a new settlement that takes into account the opt-
             out rate.

      7.6.3. If the parties are unable to reach a new settlement, the Settlement Administrator
             shall, within seven (7) calendar days of receiving written request from Defendant,
             repay to Defendant the Settlement Fund (including interest accrued thereon) less
             the sum of the notice, administrative, and any other Court-approved costs of
             notice actually paid or due and payable from the Settlement Fund as of the date on
             which notice is received (the “Termination Refund”) and this Agreement shall
             thereupon terminate. In the event of such a termination, no class will be deemed
             certified as a result of this Agreement, and the Litigation for all purposes will revert
             to its status as of January 31, 2025. In such event, Defendant will not be deemed to
             have consented to certification of any class, and will retain all rights to oppose,
             appeal, or otherwise challenge, legally or procedurally, class certification or any
             other issue in this case. Likewise, the participation in the Settlement by any Plaintiff
             or Class Member cannot be raised as a defense to their claims.

      7.6.4. The Parties agree that, if there is a termination pursuant to this provision, then the
             fact and amount of the settlement and the terms of this Agreement shall not be
             used or admitted into evidence in the Litigation or any subsequent litigation absent

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              a court order requiring disclosure.

 7.6. Entry of Order of Final Approval. At the time the Court considers the Order Granting
      Preliminary Approval, the Parties will request that the Court set the Final Fairness Hearing
      to take place approximately one hundred and ten (110) calendar days after Notice is mailed
      pursuant to Section 7.2 above. At the Final Fairness Hearing, the Parties will request that
      the Court, among other things: (a) enter an Order Granting Final Approval in accordance
      with this Agreement; (b) certify the Settlement Class; (c) approve the Settlement Agreement
      as final, fair, reasonable, adequate, and binding on all Class Members; (d) enter a Final
      Judgment; and (e) permanently enjoin any Class Member who has not opted out from
      bringing any Plaintiff Released Claims in any court. In addition, prior to the Final Fairness
      Hearing, Class Counsel shall petition the Court for an award of attorneys’ fees in an amount
      not to exceed 33 ⅓ % of the gross amount awarded to the Settlement Class plus costs and
      expenses to be paid out of the Settlement Fund. Class Counsel shall also petition the Court
      for named Plaintiffs (Taylor Smart and Michael Hacker) to each receive a reasonable
      service award not to exceed $7,500.00 to be paid out of the Settlement Fund.

 7.7. Class Counsel shall be responsible for drafting the application for attorneys’ fees, costs,
      expenses, and for service awards at least fourteen (14) calendar days before the notice
      period expires (i.e., the deadline for Class members to object or to exclude themselves).

 7.8. Effect of Failure of Approval. In the event the Court fails to enter an Order Granting
      Final Approval in accordance with the terms of this Agreement, the Parties shall proceed as
      follows:

    7.8.1. If the Court declines to enter the Order Granting Final Approval as provided for in
          this Agreement, the Parties will work together, diligently and in good faith, to remedy
          any issue(s) leading to such denial, or if they are unable to remedy those issues, to
          consider seeking appellate review of the order denying the motion or Court approval
          of a renegotiated settlement without any change to the Settlement Fund. Litigation will
          resume unless within thirty (30) calendar days the Parties mutually agree in writing to
          do one of the following: (a) seek reconsideration or appellate review of the decision
          denying entry of the Order Granting Final Approval; or (b) attempt to renegotiate the
          Settlement and seek Court approval of the renegotiated settlement.

    7.8.2. In the event the Litigation resumes or the Parties seek reconsideration and/or
          appellate review of the decision denying entry of the Order Granting Final Approval
          and such reconsideration and/or appellate review is denied, the Settlement
          Administrator shall, within seven (7) calendar days of receiving written notice of the
          resumption of the Litigation or the denial of reconsideration or appellate review,
          repay to Defendant the Termination Refund and this Agreement shall thereupon
          terminate.

    7.8.3. If, for any reason, the Settlement is not approved by the Court or does not become
          subject to Final Approval, then no class will be deemed certified as a result of this
          Agreement, and the Litigation for all purposes will revert to its status as of January 31,
          2025. The Parties agree that, if the Settlement is not approved, then the fact and
          amount of the settlement and the terms of this Agreement shall not be used or
          admitted into evidence in the Litigation or any subsequent litigation absent a court
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          order requiring disclosure. In such event, Defendant will not be deemed to have
          consented to certification of any class, and will retain all rights to oppose, appeal, or
          otherwise challenge, legally or procedurally, class certification or any other issue in this
          case. Likewise, if the Settlement is not approved by the Court or does not become
          subject to Final Approval, then the participation in the Settlement by any Plaintiff or
          Class Member cannot be raised as a defense to their claims. Plaintiffs will thereafter be
          entitled to finish briefing on their motion for class certification and other associated
          briefs that had otherwise been due on January 31, 2025.

     7.8.4. It shall not be deemed a failure to enter the Order Granting Final Approval for the
           Court to deny, all or in part, the attorneys’ fees and cost award requested by Class
           Counsel. In such case, this Agreement shall be deemed valid and enforceable,
           notwithstanding the Court’s order awarding less than the requested amount of
           attorneys’ fees and costs. However, Class Counsel shall retain all rights of appellate
           review to such an order without affecting the finality of any award to the Settlement
           Class.

 7.9. Effect of Failure of Order Granting Final Approval to Become a Final Judgment. In
      the event the Order Granting Final Approval does not become a Final Judgment because
      an appeal is taken of the Order Granting Final Approval, the Parties shall proceed as
      follows:
          7.9.1. If the Order Granting Final Approval is reversed by the appellate court, the
                Parties will work together, diligently and in good faith, to remedy any issue(s)
                leading to such a reversal, or if they are unable to remedy those issues, to consider
                seeking further appellate review of the order denying the motion or Court
                approval of a renegotiated settlement without any change to the Settlement Fund.
                Otherwise, the Litigation will resume unless within thirty (30) calendar days of the
                appellate court ruling the Parties mutually agree in writing to do one of the
                following: (a) seek further reconsideration or appellate review of the appellate
                decision reversing the Order Granting Final Approval; or (b) attempt to
                renegotiate the Settlement and seek Court approval of the renegotiated settlement.

         7.9.2. In the event the Litigation resumes or the Parties seek further reconsideration
               and/or appellate review of the appellate decision reversing the Order Granting
               Final Approval and such further reconsideration and/or appellate review is
               denied, the Settlement Administrator shall, within seven (7) calendar days of
               receiving written notice of the resumption of the Litigation or the denial of further
               reconsideration or appellate review, repay to Defendant the Termination Refund,
               and this Agreement shall thereupon terminate.

         7.9.3. If, for any reason, the Settlement does not become subject to Final Judgment,
               then no class will be deemed certified as a result of this Agreement, and the
               Litigation for all purposes will revert to its status as of January 31, 2025. In such
               event, Defendant will not be deemed to have consented to certification of any
               class, and will retain all rights to oppose, appeal, or otherwise challenge, legally or
               procedurally, class certification or any other issue in this case. Likewise, if the
               Settlement does not become subject to Final Judgment, then the participation in
               the Settlement by any Plaintiff or Class Member cannot be raised as a defense to
               their claims. Plaintiffs will thereafter be entitled to finish briefing on their motion
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             for class certification and other associated briefs that had otherwise been due on
             January 31, 2025.

 8. DISTRIBUTIONS

    8.1. Notice and Administration. All costs of notice and administration of the Settlement
         shall be paid from the Settlement Fund subject to and in accordance with the
         provisions of Section 6.1. The Parties agree to cooperate in the settlement
         administration process and to make all reasonable efforts to control and minimize the
         costs incurred in the administration of the Settlement.

    8.2. Attorneys’ Fees and Costs

       8.2.1. Any award of attorneys’ fees, expenses, or costs under the Order Granting
             Final Approval or such other order of the Court, shall be paid from the
             Settlement Fund by the Settlement Administrator to Class Counsel, upon
             production to the Settlement Administrator of a copy of the Order, fourteen (14)
             calendar days after the Effective Date.

    8.3. Service Awards. Any service awards granted by the Court in the Order Granting
         Final Approval or such other order of the Court, shall be paid from the Settlement
         Fund by the Settlement Administrator at the same time and in the same fashion as the
         Class Member payments.

    8.4. Class Member Payments

       8.4.1. The deduction of the amounts in Section 8.1, 8.2, and 8.3 from the Settlement
             Fund, plus the deduction of the reserve set aside for the Contingency Fund, will
             result in a Net Settlement Amount. Any Class Member who fails to submit a
             timely and valid Request for Exclusion shall receive the payment due to them
             from the Net Settlement Fund within thirty (30) calendar days from the Effective
             Date so long as required W-9 information is provided.

       8.4.2. A Class Member’s proportionate share of the Net Settlement Fund will be
             determined by the Settlement Administrator, with assistance from consultants
             chosen by Class Counsel, pursuant to the following formula:

                 •    Records produced or obtained during the Litigation, along with public
                      records, will be used to ascertain the years worked by the Class Member
                      as a volunteer coach within the relevant period of the Litigation;

                 •    A Class Member’s gross possible damages will be determined in
                      accordance with the method described by Plaintiffs’ expert, Dr. Daniel
                      Rascher, in the Declaration of Daniel A. Rascher in Support of Motion
                      for Class Certification, ECF No. 63-60, but in no event will any Class
                      Member be credited with less than $5,000.00 in gross possible damages
                      per full academic year worked within the relevant period;

                 •    Each Class Member’s proportional share of the Net Settlement Fund
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                      will be determined by dividing the individual Class Member’s gross
                      possible damages by the aggregate total of all Class Members’ gross
                      possible damages by the calculated according to that method.

     8.4.3. The Settlement Administrator shall electronically transfer or physically mail all
            class member payments within thirty (30) calendar days after the Effective Date,
            or as soon as reasonably practicable. The Settling Parties agree that Settlement
            Class Members who have not properly opted out of the settlement will, by
            negotiating or otherwise accepting these payments to them, be deemed to have
            opted into the Litigation, to the extent necessary to effectuate the release of
            claims under the FLSA contained herein. The Settlement Administrator shall then
            provide written certification of the electronic transfer or physical mailing of
            checks to Class Counsel and Defendant’s Counsel. Class Members will have one
            hundred and twenty (120) calendar days to cash any physical checks, and the
            Settlement Administrator will send a reminder to Class Members who have not
            cashed their checks thirty (30) calendar days before the check is scheduled to
            expire. Following the period of 120 calendar days after issuance of a Class
            Member’s check, the Class Member will have thirty (30) calendar days to request
            a re-issuance of a check. Any checks not cashed within 120 calendar days may be
            automatically canceled, and if the Class Member does not seek a re-issue within
            30 calendar days, the Class Member’s right to recover a payment under the
            Settlement Agreement will be deemed void and of no further force and effect.

     8.4.4. If at the conclusion of the 30-day period for check re-issuances any funds remain
            from checks that are returned as undeliverable or not negotiated, these funds will
            be redistributed among Class Members who have timely cashed their checks pro
            rata, or if, in the sole discretion of Class Counsel, the amount remaining is too
            small to justify the expense of a redistribution, the unclaimed funds will be
            donated to the Cy Pres Awardee under the cy pres doctrine.

     8.4.5. No person shall have any claim against Defendant, Plaintiffs, Class Counsel, or
            Defendant’s Counsel based on distributions or payments made in accordance
            with this Agreement.

 9. RELEASE AND COVENANT NOT TO SUE

    9.1. Upon entry of the Final Judgment, Plaintiffs and all Class Members who have not
         opted out of the Settlement (i) release the Released Parties from all Plaintiff Released
         Claims, and (ii) covenant not to sue the Released Parties based on any Plaintiff Released
         Claims.

    9.2. Upon entry of the Final Judgment, the Defendant (i) releases the Plaintiffs from all
         Defendant Released Claims, and (ii) covenant not to sue the Plaintiffs based on any
         Defendant Released Claims.

    9.3. In accordance with the foregoing release and covenant not to sue, all pending
         litigation brought by or on behalf of a Class Member involving Plaintiff Released
         Claims, including the Litigation, shall be dismissed with prejudice, with each party
         bearing their own fees, costs, and expenses within 30 calendar days of the Effective

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         Date.

     9.4. Waiver of Statutory Provisions. On the Effective Date, Plaintiffs and all Class
          Members who have not opted out of the Settlement shall be deemed to have, and by
          operation of this Agreement shall have, with respect to the subject matter of the
          Litigation and limited to the scope of the Plaintiff Released Claims, expressly waived
          the benefits of any statutory provisions or common law rule that provides, in
          substance or effect, that a general release does not extend to claims which the party
          does not know or suspect to exist in its favor at the time of executing the release,
          which if known by it, would have materially affected its settlement with any other
          party. In particular, but without limitation, Plaintiffs and all Class Members who
          have not opted out of the Settlement waive the provisions of California Civil Code §
          1542 (or any like or similar statute or common law doctrine in California or any
          other state), and do so understanding the significance of that waiver. Section 1542
          provides:

             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
             CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
             EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
             RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
             MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
             DEBTOR OR RELEASED PARTY.

Plaintiffs and all Class Members who have not opted out of the Settlement may hereafter
discover facts in addition to or different from those which he or she or they now know or
believe to be true with respect to the subject matter of the Released Claims, but the Plaintiffs
and all Class Members who have not opted out of the Settlement, upon the Effective Date,
shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and
forever settled and released any and all Plaintiff Released Claims, known or unknown,
suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden,
which then exist, or heretofore have existed upon any theory of law or equity now existing or
coming into existence in the future. The named Plaintiffs acknowledge, and the Class
Members shall be deemed by operation of the Judgment to have acknowledged, that the
foregoing waiver was separately bargained for and a key element of the settlement of which
this release is a part. The Settling Parties agree that this release of unknown claims extends
only to claims that meet the definition of Plaintiff Released Claims and does not extend to
claims that do not meet that definition, such as, for example, claims for workplace harassment
or physical injury.

 10. MISCELLANEOUS PROVISIONS

     10.1.          No Admission of Liability. Defendant expressly denies any liability or
             wrongdoing, and nothing in this Agreement or the subsequent Final Judgment
             constitutes an admission by Defendant or finding of liability by the Court regarding
             any claim or defense.

     10.2.      Conditional Pending Final Approval. This Agreement is made for the sole
          purpose of attempting to consummate settlement of the Litigation on a class basis.
          This Stipulation and the settlement it evidences is made in compromise of disputed
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         claims. Because this Stipulation would settle the Litigation as a class action, this
         settlement must receive preliminary and final approval from the Court. Accordingly,
         the Settling Parties enter into this Agreement and associated settlement on a
         conditional basis that the Court enter a Final Approval Order of the settlement. In the
         event that the Court does not execute and file a Final Approval Order as discussed
         above, or in the event that the associated Judgment for the Settlement Class does not
         become Final for any reason, this Agreement shall be deemed null and void ab initio, it
         shall be of no force or effect whatsoever; it shall not be referred to or utilized for any
         purpose whatsoever except as needed during appellate proceedings related to approval
         of this Agreement or absent a court order; and the negotiation, terms, and entry of the
         Stipulation shall remain subject to the provisions of Federal Rule of Evidence 408 and
         related settlement privileges, except that the documents filed in support of the motion
         for preliminary approval and/or final approval shall remain part of the public record.

    10.3.       No Waiver of Right to Challenge. Defendant denies all of the allegations and
         claims, including as to liability, damages, fees, and all other forms of relief asserted in
         the Litigation. Defendant has agreed to resolve the Litigation via this Agreement, but
         to the extent this Agreement is disapproved by the Court, deemed void, or does not
         otherwise take effect, the Parties do not waive, but rather expressly reserve, all rights to
         challenge or prosecute all such claims and allegations in the Litigation upon all
         procedural and factual grounds, including without limitation the ability to proceed with
         or challenge class and/or representative action treatment on any grounds or assert any
         and all defenses or privileges. The Parties and their counsel of record agree that the
         Parties retain and reserve these rights, and agree not to take positions to the contrary;
         specifically, the Parties and their counsel of record agree not to argue or present any
         argument, and hereby waive any argument, that this Agreement estops or otherwise
         precludes a Party from proceeding with or contesting class and/or representative
         treatment on any grounds if this Litigation were to proceed.

    10.4.       Continuing Jurisdiction. The United States District Court for the Eastern
         District of California shall have and retain jurisdiction over the interpretation and
         implementation of this Agreement, as well as any and all matters arising out of, or
         related to, the interpretation or implementation of the Agreement.

    10.5.         Cooperation Between the Parties. The Parties shall cooperate fully with each
         other and shall use all reasonable efforts to obtain Court approval of the Settlement and
         all of its terms. Defendant shall provide all information reasonably available to
         Defendant and reasonably necessary to assist Plaintiffs in the filing of any brief
         supporting approval of the Settlement. Defendant will reasonably cooperate with
         Plaintiffs to try to help identify remaining class members that have not yet been
         identified by Plaintiffs from school document productions and public sources.
         However, nothing in this Agreement shall require Defendant to obtain or provide
         information that is in the possession, custody and control of one of its members.
         Plaintiffs, Class Counsel, Defendant, and Defendant’s Counsel agree to recommend
         approval of and to support this Settlement Agreement to the Court and to use all
         reasonable efforts to give force and effect to its terms and conditions. Neither
         Plaintiffs, Class Counsel, Defendant, nor Defendant’s Counsel shall in any way
         encourage any objections to the Settlement (or any of its terms or provisions) or
         encourage any Class Member to elect to opt out.

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    10.6.       Good Faith Pleadings. The Parties agree not to assert in any forum that the
         Lawsuit was brought or defended in bad faith or without a reasonable basis, or that any
         Party or its counsel committed any violation of any provision of the Federal Rules of
         Civil Procedure or any law or ethical rule relating to the prosecution or defense of the
         Lawsuit.

    10.7.       Investigation; Advice of Counsel; Authority

     10.7.1. Plaintiffs, as well as their counsel signing this Agreement, represent, warrant, and
             agree that Plaintiffs: (i) have made such investigation of the facts pertaining to this
             Settlement and this Agreement and of all the matters pertaining thereto as they
             deem necessary; (ii) have had the opportunity to have counsel of their choosing
             review this Agreement; (iii) have read this Agreement, understand its contents, and
             have executed it voluntarily and without duress or undue influence from any
             person or entity; (iv) have duly and validly authorized the execution and delivery
             of this Agreement by their counsel; and (v) have full power and authority to enter
             into and perform all actions or transactions contemplated by this Agreement.
             Without limiting the generality of the foregoing in any way, Plaintiffs represent
             and warrant that they (i) are the sole legal owners of, and have full right, title and
             interest in, the claims asserted in the Lawsuit; (ii) prior to the Execution Date, they
             have not assigned and will not assign to any third party their right, title, and
             interest in any of the Plaintiff Released Claims; and (iii) they have full right, power,
             and legal authority to release, relinquish, settle, and discharge the Plaintiff Released
             Claims (including without limitation the claims they asserted in the Lawsuit) on
             behalf of Plaintiffs.

     10.7.2. Defendant, as well as its counsel signing this Agreement, represent, warrant, and
             agree that Defendant: (i) has made such investigation of the facts pertaining to this
             settlement and this Agreement and of all the matters pertaining thereto as it deems
             necessary; (ii) has had the opportunity to have counsel of its choosing review this
             Agreement; (iii) has read this Agreement, understands its contents, and has
             executed it voluntarily and without duress or undue influence from any person or
             entity; (iv) has duly and validly authorized the execution and delivery of this
             Agreement by its counsel; and (v) has full power and authority to enter into and
             perform all actions or transactions contemplated by this Agreement. Without
             limiting the generality of the foregoing in any way, Defendant represents and
             warrants that it has the full right, power, and legal authority to release Defendant
             Released Claims.

    10.8.        Entire Agreement. This Agreement contains the entire agreement and
         understanding between the Parties concerning the subject matter hereof, and
         supersedes any prior or contemporaneous discussion or agreements thereon. The
         Parties acknowledge and agree that: (i) no promises, representations, or agreements
         have been made in connection with this Agreement other than those set forth herein;
         and (ii) in deciding to enter this Agreement, they have not relied on any promise,
         statement, or representation of fact or law except for those that are expressly stated in
         this Agreement.

    10.9.       Modification of Agreement. No waiver, modification, or amendment of the
         terms of this Agreement, made before or after Final Approval, shall be valid or binding
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        unless in writing, signed by Plaintiffs and by duly authorized signatories of Defendant,
        and then only to the extent set forth in such written waiver, modification, or
        amendment, and subject to any required Court approval.

    10.10.       Construction of Agreement. The terms, provisions, and conditions of this
         Agreement are the result of negotiations in good faith and at arm’s length between
         Plaintiffs and Defendant. Plaintiffs and Defendant have all been represented by legal
         counsel of their own choosing and have contributed substantially and materially to the
         preparation of this Agreement. Accordingly, the terms, provisions and conditions of
         this Agreement shall be interpreted and construed in accordance with their usual and
         customary meanings, without application of any rule of interpretation or construction
         providing that ambiguous or conflicting terms, conditions, or provisions shall be
         interpreted or construed against the Party whose legal counsel prepared the executed
         version or any prior drafts of the Agreement. Any captions and headings contained in
         this Agreement are for convenience of reference only and are not to be considered in
         construing this Agreement.

    10.11.      Binding Effect. This Agreement shall be binding upon and inure to the
         benefit of the Parties, the Settlement Class, and their respective heirs, successors, and
         assigns. This Agreement shall inure to the benefit of Defendant’s members. The
         individual signing this Agreement on behalf of Defendant hereby represents and
         warrants that he/she has the power and authority to enter into this Agreement on
         behalf of Defendant, on whose behalf he has executed this Agreement, as well as the
         power and authority to bind Defendant to this Agreement. Likewise, Plaintiffs and
         Class Counsel executing this Agreement represent and warrant that they have the
         authority to enter into this Agreement on behalf of Plaintiffs and the Settlement Class,
         and to bind Plaintiffs and the Settlement Class subject to Court approval.

    10.12.      Waiver. Any failure by any of the Parties to insist upon the strict performance
         by any of the other Parties of any of the provisions of this Agreement shall not be
         deemed a waiver of any of the provisions of this Agreement and such Party,
         notwithstanding such failure, shall have the right thereafter to insist upon the specific
         performance of any and all of the provisions of this Agreement.

    10.13.      When Agreement Becomes Effective; Counterparts. This Agreement shall
         become effective upon its execution by Defendant, Class Counsel, and Plaintiffs. The
         Parties may execute this Agreement in counterparts and execution in one or more
         counterparts shall have the same force and effect as if all Parties had signed the same
         instrument.

    10.14.       Captions. The captions or headings of the sections and paragraphs of this
         Agreement have been inserted for convenience of reference only and shall have no
         effect upon the construction or interpretation of any part of this Agreement.

    10.15.      Electronic and Counterpart Signatures. This Agreement may be executed
         simultaneously in counterparts, each of which shall be deemed to be an original, but all
         of which shall constitute one and the same instrument. Signatures by electronic means
         shall be deemed to constitute original signatures. Each person executing the
         Agreement on behalf of a Party hereby represents and warrants that he or she is duly
         authorized to do so and that his or her signature to the Agreement binds the Party for
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         which the signature is provided to all the terms of the Agreement.

    10.16.      Exhibits. Any exhibits hereto are incorporated herein by reference as if set
         forth herein verbatim, and the terms of any exhibits are expressly made a part of this
         Agreement.

    10.17.      Notices to Parties. All notices, requests, demands, or other communications
         required or contemplated hereunder or relating hereto shall be in writing and
         forwarded by registered or certified mail, postage prepaid, return receipt requested,
         and overnight delivery with a copy by e-mail, and addressed as follows:

    If to Plaintiffs:

                Garrett R. Broshuis, Esq.
                Steven M. Berezney, Esq.
                Korein Tillery LLC
                505 North 7th Street, Suite 3600
                St. Louis, MO 63101
                gbroshuis@koreintillery.com
                sberezney@koreintillery.com

    If to Defendant:

                Scott Bearby
                Senior Vice President and General Counsel
                National Collegiate Athletic Association
                Sbearby@ncaa.org

                -and-

                Carolyn Hoecker Luedtke
                Justin P. Raphael
                Megan McCreadie
                Munger Tolles & Olson LLP
                560 Mission Street, 27th Floor
                San Francisco, CA 94105
                Carolyn.Luedtke@mto.com
                Justin.Raphael@mto.com

    10.18.      Governing Law. This Agreement, and all claims, causes of action (whether in
         contract, tort, or statute) that may be based upon, arise out of, or relate to this
         Agreement, or the negotiation, execution, or performance of this Agreement
         (including any claim or cause of action based upon, arising out of, or related to any
         representation or warranty made in or in connection with this Agreements or as an
         inducement to enter into this Agreement) shall be construed in accordance with and
         governed by the laws of the State of California, including its statutes of limitations,
         without regard to that State’s conflicts of laws principles. The Parties expressly submit
         to the exclusive jurisdiction of the United States District Court for the Eastern District
         of California for all purposes related to this Agreement, and agree that any order,
         process, notice of motion, or other application to or by such court or a judge thereof
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         may be served within or without such court’s jurisdiction by overnight delivery or by
         hand, with copies thereof sent by e-mail, to the address specified in Section 10.15,
         Notices to Parties.

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     IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement and
Release as follows:




 Dated: _____________
                                             Garrett R. Broshuis, Korein Tillery, LLC
                                             On behalf of the Class



 Dated: 03/24/2025
        _____________
                                             Taylor Smart




 Dated: _____________
                                             Michael Hacker




 Dated: _____________
                                             By: Charles Baker
                                             On behalf of Defendant NCAA




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     IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement and
Release as follows:




 Dated: _____________
                                             Garrett R. Broshuis, Korein Tillery, LLC
                                             On behalf of the Class



 Dated: _____________
                                             Taylor Smart




 Dated: _____________
        03/24/2025

                                             Michael Hacker




 Dated: _____________
                                             By: Charles Baker
                                             On behalf of Defendant NCAA




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                                             Garrett R. Broshuis, Korein Tillery, LLC
                                             On behalf of the Class



 Dated: _____________
                                             Taylor Smart




 Dated: _____________
                                             Michael Hacker




        03/24/2025
 Dated: _____________
                                             By: Charles Baker
                                             On behalf of Defendant NCAA




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